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                            EXHIBIT 30
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                                                                          Filed 04/26/2024



 ECLIPSE LIQUIDITY, INC.                     IN THE SUPERIOR COURT OF
                                                   PENNSYLVANIA

             V.                              Philadelphia County Civil
                                             Division
                                             200300816
GEDEN HOLDINGS, LTD, ADVANTAGE
TANKERS, LLC, AND ADVANTAGE
AWARD SHIPPING, LLC
                                              No. 587 EDA 2024

APPEAL OF: REUBEN BALZAN,
COURT-APPOINTED LIQUIDATOR FOR
GEDEN HOLDINGS, LTD.



                                    ORDER

      Appellant, Reuben Balzan, Court-Appointed Liquidator for Geden
Holdings, Ltd. (" Geden"), one of the defendants below, appeals from the
January 24, 2024 order that granted summary judgment in favor of Geden as
well as the other defendants and dismissed the action against them for lack
of subject matter jurisdiction.

       "Except where the right of appeal is enlarged by statute," only a " party
who is aggrieved by an appealable order, or a fiduciary whose estate or trust
is so aggrieved, may appeal therefrom." Pa.R.A.P. 501. " A party is aggrieved'
when the party has been adversely affected by the decision from which the
appeal is taken." In re Int. of K.C., 156 A.3d 1179, 1182 ( Pa. Super. 2017).
"A prevailing party is not aggrieved' and[,] therefore, does not have standing
to appeal an order that has been entered in his or her favor." Epstein v. Saul
Ewing, LLP, 7 A.3d 303, 314 ( Pa. Super. 2010). Here, the order granted
summary judgment in favor of Geden and the other defendants below.
Therefore, Geden is a prevailing party, and Appellant lacks standing to appeal
the order entered in Geden's favor.

      By Order of March 25, 2024, Appellant was directed to show cause why
he has standing to appeal the order. Although Appellant filed a response to
the show- cause order, the response is legally insufficient to support
Appellant's standing to appeal the order.      Accordingly, the appeal is
DISMISSED.

                                                                   PER CURIAM
